
The People of the State of New York, Respondent,
againstPeter Pekich, Appellant.




Harold A. Steuerwald, for appellant.
Town Attorney for the Town of Babylon (Jerry C. Guarino of counsel), for respondent.

Appeal from judgments of the District Court of Suffolk County, Second District (James F. Matthews, J.), rendered September11, 2015. The judgments convicted defendant, after a nonjury trial, of failing to obtain a permit and occupying a building without obtaining a certificate of occupancy, respectively.




ORDERED that the judgments of conviction are reversed, on the law, the accusatory instruments are dismissed, and the fines, if paid, are remitted.
Defendant was charged with failing to obtain a permit (Code of the Town of Babylon [Code] § 213-17 [A]) and occupying a building without obtaining a certificate of occupancy (Code § 213-20 [A]). After a nonjury trial, defendant was found guilty of the charges, and the court imposed a fine of $750 upon each of the judgments of conviction. 
Viewing the evidence in the light most favorable to the People (see People v Contes, 60 NY2d 620, 621 [1983]), we find that it was legally insufficient to establish defendant's guilt, beyond a reasonable doubt, of violating Code §§ 213-17 (A) and 213-20 (A), since no evidence was provided at trial establishing that a permit or certificate of occupancy had not been issued by the Town. Indeed, the People's witness conceded that she had failed to examine the contents of [*2]the Building Department's file regarding the premises, and no other evidence was presented at trial to establish the violations in question. 
In view of the foregoing, we need not pass upon the remaining issues raised in defendant's brief on appeal.
Accordingly, the judgments of conviction are reversed and the accusatory instruments are dismissed.
GARGUILO, J.P., MARANO and TOLBERT, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: May 24, 2018










